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 7                                  IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
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                                         NORTHERN MARIANA ISLANDS
 9
     RANDALL T. FENNELL,                           ) CASE NO. CV 09-00019
10                                                 )
                             Plaintiff,            )
11                  vs.                            )
                                                   )
12   MATTHEW T. GREGORY, former Attorney ) ORDER EXTENDING DEADLINE FOR
     General, GREGORY BAKA, Acting Attorney ) FILING FIRST AMENDED COMPLAINT
13   General, ANTHONY WELCH, Assistant Attorney )
     General, TOM J. SCHWEIGER, Assistant Attorney )
14   General and DOES 1-20, in their official and )
     individual capacities,                        )
15
                             Defendants.           )
16                                                 )
                                                   )
17
18          Based on the Stipulation by the parties, the Court HEREBY GRANTS Plaintiff an extension to
19   file a First Amended Complaint, if at all, by May 31, 2011.
20
21                                                                 SO ORDERED on April 28, 2011.
22                                                                 /s/ Frances M. Tydingco-Gatewood
                                                                   FRANCES M. TYDINGCO-GATEWOOD1
23                                                                 District Judge
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                Chief Judge, District Court of Guam, sitting by designation. See 48 U.S.C. § 1821(b)(2).
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